December 22, 2006


Mr. Michael W. McCoy
Fowler Rodriguez
1331 Lamar, Suite 1560
Houston, TX 77010


Mr. James Hans Barcus
Cantrell, Ray, Maltsberger &amp; Barcus L.L.P.
P.O. Box 1019
Huntsville, TX 77342
Honorable Kenneth H. Keeling
278th District Court of Walker County
1100 University Ave., Ste. 303
Huntsville, TX 77340-4642


Mr. Michael G. Dunnahoo
Rymer, Moore, Jackson &amp; Echols, P.C.
2801 Post Oak Blvd Suite 250
Houston, TX 77056

RE:   Case Number:  06-0977
      Court of Appeals Number:  10-06-00333-CV
      Trial Court Number:  23353

Style:      IN RE  PENN-AMERICA INSURANCE COMPANY

Dear Counsel:

      Today the Supreme Court of Texas issued the enclosed stay order in the
above-referenced case.
      Pursuant to Tex. R. App. P. 55.1, you are requested to file briefs  on
the merits in the above-styled case.  Please refer to Tex.  R.  App.  P.  55
for the requirements of relators'  and  real  parties  in  interest  briefs.
Please note that any party may elect to rely  upon  the  briefs  already  on
file with this Court by notifying this office in writing no later  than  the
due date of the brief.  If you elect to rely upon a  brief  filed  with  the
court of appeals, you must provide twelve copies in accordance with Tex.  R.
App. P. 9.3(b).  The filing of a notification letter shall invoke  the  same
timetable as the filing of a brief.  The petition for writ of  mandamus  has
not been granted and remains under consideration by the Court.
      The briefing schedule is outlined below.  See Tex. R.  App.  P.  55.7.
Please note that Tex. R. App. P. 9.2(b) does not apply.  All briefs are  due
to be filed in this office on or before 3:00 p.m. on the due date:


      Relator/s shall file their brief within thirty days of this  date  (on
      or before January 22, 2007).


      Real party/parties in interest shall file their response brief  within
      twenty days after receiving relator/s brief (no  later  than  February
      12, 2007).


      Relator/s shall  file  any  reply  brief  within  fifteen  days  after
      receiving real party/parties in interest brief (no later than February
      27, 2007).


      Additionally, the Court requests that parties submit  a  copy  of  all
briefs on the merits (including amicus and post-submission briefs)  and  the
respective petitions,  responses,  and  replies  -  already  on  file  -  in
electronic form within ten (10) days of the  date  of  this  letter.   Also,
please submit an electronic copy when filing the hard copies of  any  brief.
Please see the enclosed information for guidelines.

                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

Enclosures

| | |

              INFORMATION ON SUBMISSION OF ELECTRONIC BRIEFING

      In order to make more information available  to  the  public  via  the
Court's website, we request that all briefs on the merits (including  amicus
and post-submission briefs) be submitted electronically.   Additionally,  in
all cases (such as this case) in which the Court requests full  briefing  on
the merits, the Court requests that you submit an electronic  copy  of  your
previously filed  petition  for  review,  petition  for  writ  of  mandamus,
response, or reply, etc., as applicable.  Please submit an  electronic  copy
of each filing in the following form and format when filing the hard  copies
of any brief.

      The Court asks the parties to submit  each  electronic  brief  in  the
following form and format:

        1. Each efiling should be submitted either by email  attachment  or
           on a separate 3 1/2 inch floppy disc/CD.


        2. Each email attachment or disc/CD must include information  or  a
           label, respectively, that identifies the case name,  the  docket
           number, type of filing (i.e.  petition  for  writ  of  mandamus,
           response, reply,  relator's  brief,  real  party  in  interest's
           brief, brief in reply, amicus brief),  and  the  word-processing
           software and version used to prepare the brief.   If  submitting
           by email, please attach a Certificate of Compliance.  A link  to
           the certificate can be found on the Supreme Court's  Website  at
           http://www.supreme.courts.state.tx.us/ebriefs.  If submitting an
           efiling on floppy  disc/CD,  please  enclose  a  Certificate  of
           Compliance with the disc/CD.


        3. If available, the Court prefers the use of searchable PDF  files
           because files in this format generally may not be  altered.   If
           this format is not available to you, please use either Microsoft
           Word (up to Word  2003  (Word  XP))  or  WordPerfect  version  7
           through 12.   Documents submitted  in  these  versions  will  be
           converted to searchable PDF by the Clerk's office.


        4. The email attachment or disc/CD must contain only an  electronic
           copy of the submitted filing. The email  attachment  or  disc/CD
           must not contain any document or material that is  not  included
           in the original hard copy of the filing with the Court.


        5. The email attachment or disc/CD must be free of viruses  or  any
           other files that would be disruptive  to  the  Court's  computer
           system.

        6. If submitting an efiling as an email attachment at the time  the
           brief is  filed,  please  advise  the  Clerk's  office  in  your
           transmittal  letter  accompanying  hard  copies;   please   send
           efilings to scebriefs@courts.state.tx.us.




                          CERTIFICATE OF COMPLIANCE

      At the request of the Court, I certify that  this  submitted  computer
disc/CD (or email attachment) complies with the following  requests  of  the
Court:


   1. 1.    This ebrief is labeled with  or  accompanied  by  the  following
      information:

        1. a.    Case Name: ____________________________________
        2. b.    The Docket Number: _____________________________
        3. c.    The Type of Brief(s): _____________________________
        4. _____________________________________________________
        5. _____________________________________________________
        6. d.    The Word Processing Software and Version Used  to  prepare
           the ebrief: __________________________________________________

        1. 2.    This  disc/CD  (or  email  attachment)  contains  only  an
           electronic copy of the submitted filing and does not contain any
           document or portion thereof that is not included in the filing.

        1. 3.    The electronic filing is free  of  viruses  or  any  other
           files that would be disruptive to the Court's  computer  system.
           The following software, if any, was used to ensure the filing is
           virus-free: _________________________________.

        1. 4.    I understand that a copy of this filing will be posted  on
           the Court's web site and becomes part of the Court's record.


_________________________________
(Signature of filing party and date)
_________________________________
(Printed name)
_________________________________
(Firm)

